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HG USAO 2019R00882 U.S. CISTRICT COURT.
DISTRICT OF MARYLAND

IN THE TSE EG Ba CT COURT
FOR TH LAND
CLERK'S OFFICE
UNITED STATES OF AMERICA — AZT BAET IMORE

 

BY DEPUTY , C i ,
v. MINAL NO. - -
LL-\V- p41
XYAVION LAWRENCE, _* (Theft of Firearms from a Federal
* Firearms Licensee’s Inventory, 18
Defendant * U.S.C. § 922(u))
*
*
Re kee
INDICTMENT
COUNT ONE

(Theft of Firearms from a Federal Firearms Licensee’s Inventory)
The Grand Jury for the District of Maryland charges that:
On or about August 8, 2019, in the District of Maryland, the defendant,
XYAVION LAWRENCE,

did knowingly steal and unlawfully take and carry away, from the premises of a person licensed
to engage in the business of importing, manufacturing, and dealing in firearms, to wit: the Gun
Shop, located at 1614 Eastern Boulevard, Essex, MD 21221, firearms in the licensee’s business
inventory that had been shipped and transported in interstate and foreign commerce.

18 U.S.C. § 922(u).
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A TRUE BILL:

_ SIGNATURE REDACTED.

v*yoreper: tsqn—

 

 

Lud. We owe

ROBERT K. HUR
United States Attorney

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Date
